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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    JEREMY S. KROGER, Bar #258956
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    WRENL BURGE
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )             No. 1:10-cr-00266 LJO
                                           )
12                    Plaintiff,           )
                                           )             STIPULATION TO CONTINUE
13        v.                               )             SENTENCING SCHEDULE AND HEARING
                                           )             AND ORDER
14   WRENL BURGE,                          )
                                           )             Date: May 20, 2011
15                    Defendant.           )             Time: 8:30 a.m.
                                           )             Judge: Hon. Lawrence J. O’Neill
16   _____________________________________ )
17
18         IT IS HEREBY STIPULATED, by and between the parties hereto, and through their
19   respective attorneys of record, that the sentencing hearing currently set for Friday, May 6, 2011,
20   may be continued to Friday, May 20, 2011, at 8:30 a.m.
21         This continuance is requested because defense counsel has a conflict and will not be available on the
22   date now set. Assistant United States Attorney, Michele L. Thielhorn, does not oppose this request. The
23   requested continuance will provide for continuity of counsel and will conserve time and resources for both
24   counsel and the Court.
25         Further, the parties agree that informal objections may be filed on May 6, 2011; formal objections
26   may be filed on April 22, 2011.
27   ///
28   ///
                  Case 1:10-cr-00266-LJO Document 35 Filed 04/15/11 Page 2 of 2


1                                                           BENJAMIN B. WAGNER
                                                            United States Attorney
2
3           DATED: April 15, 2011                     By     /s/ Michele L. Thielhorn
                                                            MICHELE L. THIELHORN
4                                                           Assistant United States Attorney
                                                            Attorney for Plaintiff
5
6                                                           DANIEL J. BRODERICK
                                                            Federal Defender
7
8           DATED: April 15, 2011                     By      /s/ Jeremy S. Kroger
                                                            JEREMY S. KROGER
9                                                           Assistant Federal Defender
                                                            Attorney for Defendant
10                                                          WRENL BURGE
11
12
13                                                  ORDER
14
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18
19   IT IS SO ORDERED.
20   Dated:        April 15, 2011                     /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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     Burge - Stipulation to Continue Sentencing
     Schedule and Hearing and Order                     2
